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                        UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
 State of Florida, et al.,
             Plaintiffs,
 v.                                          Case No. 8:22-cv-01981-TPB-JSS
 Food and Drug Administration, et al.,
             Defendants.

       Joint Status Report for the FOIA Claims Subject to Special Handling
                                 (Counts 2, 3, and 4)

        The parties, by counsel, respectfully submit this Joint Status Report for the

claims advanced under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

as directed in the Court’s January 4, 2023 Case Management and Scheduling

Order. ECF No. 44, ¶ 2. 1

        1.           Plaintiffs seek the production of records from Defendant Food

and Drug Administration (“FDA”) in response to a FOIA request submitted by

Plaintiff, the Agency for Health Care Administration (“AHCA”), about the State

of Florida’s Section 804 Importation Program (“SIP”) Proposal, other states’ SIP

Proposals, and various other records about the Section 804 Importation Program,

generally. The relevant time period for the FOIA request is January 1, 2019, to

July 6, 2022, the date the request was submitted to FDA.




      1 This status report does not address Plaintiffs’ claims brought under the

Administrative Procedure Act (“APA”), which are proceeding separately.
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      2.          In February 2023, after completing its initial manual searches,

FDA initiated discussions with AHCA regarding FDA’s reasonable interpretation

of and initial objections to the July 2022 Request, as well as the scope of its intended

searches for potentially responsive materials. See ECF 68-1, FDA Letter, dated

February 15, 2023 (“Feb. 15 Ltr”); see also ECF 68-3, FDA Letter, dated March 17,

2023 (“Mar. 17 Ltr”); ECF 68-5, FDA Letter, dated March 27, 2023 (“Mar. 27 Ltr”).

AHCA responded to FDA’s positions, noting areas of agreement and

disagreement. See ECF 68-2, AHCA Letter, dated February 20, 2023 (“Feb. 20 Ltr”);

see also ECF 68-4, AHCA Letter, dated March 21, 2023 (“Mar. 21 Ltr”). Although

the parties have not resolved all disagreements, the discussions have been

productive, and the parties aim to continue discussing ways to narrow the issues

in dispute. To further these discussions, FDA provided AHCA with the “initial

information showing [the volume] that the planned search terms / search strings

would return,” and explained that “[d]ue to the . . . volume of these initial returns”

FDA planned “to modify its electronic searches to include the proximity elements”

shown in a chart included in the FDA’s letter. ECF 90-2, FDA Letter, dated July

21, 2023 (“July 21 Ltr”). And, on September 12, 2023, FDA filed the Declaration of

Howard Philips, which identifies that FDA’s searches have “identified

approximately 209,000 pages of potentially responsive material” in need of review.

ECF 90-1, Philips Decl., ¶ 7.

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      3.       In early 2023, after it received the results of its initial searches,

FDA began reviewing, on a rolling basis, the potentially responsive records

identified to determine whether any pages are responsive to AHCA’s request

and, if so, whether any exemptions to disclosure apply under the FOIA.

      4.       To date, FDA has produced seven interim responses to AHCA

covering records that FDA identified using Bates-numbering, as shown in the

chart below:

           Date          Bates-Number Range for Interim Response

           3/27/2023     FDACDER000001—FDACDER001111 2

           5/4/2023      FDACDER001112—FDACDER001617

           5/23/2023     FDACDER001618—FDACDER001986

           6/28/2023     FDACDER001987—FDACDER002915

           7/26/2023     FDACDER002916—FDACDER003355

           8/28/2023     FDACDER003356—FDACDER003957

           9/28/2023     FDACDER003958—FDACDER004463

      5.       On August 22, 2023, Plaintiffs filed a Motion to Set Final FOIA

Production and Vaughn Index Deadlines in the above-captioned case, as well as

in Florida v. FDA, Case No. 8:23-cv-877-TPB-TGW (M.D. Fla.) (hereinafter,



    2 FDA’s interim response letter contained an inadvertent typographical error

in the identified Bates-numbered range. The error has been corrected in the
Bates-numbered range included herein.
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“Florida II”). ECF 86, Pls.’ Mot.; Florida II ECF No. 25 (same). Defendants filed an

Opposition to Plaintiffs’ Motion on September 12, 2023. ECF 90, Defs.’ Opp.;

Florida II ECF No. 30 (same). And the Court recently indicated that it plans to

schedule a hearing on Plaintiffs’ motion on October 24 or 25, 2023.

      6.        The parties’ next joint status report is due in 90 days, on Monday,

January 2, 2024. See ECF No. 44, ¶ 2.

 Dated: October 2, 2023                 Respectfully submitted,

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          Signed by filing counsel with the permission of non-filing counsel




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